        Case 1:20-cr-20245-RNS Document 90 Entered on FLSD Docket 01/28/2022 Page 1 of 1
AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                                          SOUTHERN                   DISTRICT OF                       FLORIDA - Miami Division



                      United States of America                                                                    EXHIBIT AND WITNESS LIST
                                 V.
                      Jonathan Guerra Blanco                                                                             Case Number: 20-20245-CR-SCOLA

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                     DEFENDANT’S ATTORNEY
                  Robert N. Scola, Jr.                                             Karen Gilbert, AUSA                                     Ana M. Davide
TRIAL DATE (S)                                                         COURT REPORTER                                           COURTROOM DEPUTY
        Sentencing hearing 01/28/2022                                                    Tammy Nestor                                     Jacob M. Hasbun
 PLF.      DEF.        DATE
                                       MARKED         ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   1                 1/28/2022              X               X         Open source Jihad 1

   2                 1/28/2022              X               X         Open source Jihad 2

   3                 1/28/2022              X               X         Open source Jihad 3

   4                 1/28/2022              X               X         Continuation of threat to Spanish judge despite the arrest of a Muntasir Media member in

                                                                      Spain.

                                                                      (exhibits 1 through 4 were returned to AUSA Karen Gilbert. She was instructed to file the

                                                                      exhibits electronically)




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                       Page 1 of    1   Pages
